        Case 7:17-cv-00187-RAJ Document 9-1 Filed 10/27/17 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                          MIDLAND-ODESSA DIVISION

 DONALD H. RILEY, JR. AND              §
 SHARI A. RILEY                        §
     Plaintiffs                        §
                                       §
 v.                                    §   CIVIL ACTION NO. 7:17-CV-187-RAJ
                                       §
                                       §
 TRAVELERS LLOYDS OF TEXAS             §
 AND                                   §
 NATHAN PLASSMAN                       §
       Defendants                      §
______________________________________________________________________________

ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR PARTIAL NONSUIT
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      The Court, having considered Plaintiffs’ Unopposed Motion for Partial Nonsuit with

prejudice of Defendant Nathan Plassman is of the opinion that Plaintiffs’ motion should be

granted. It is THEREFORE ORDERED that all claims asserted by Plaintiffs against Defendant

Nathan Plassman are dismissed with prejudice.      The remaining Defendant in the case is

Travelers Lloyds of Texas Insurance Company.

      SIGNED this ______ day of _______________, 2017.




                                         ______________________________________
                                         JUDGE PRESIDING




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